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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                                 Case No. 3:23-cv-03417-VC
           Individual and Representative Plaintiffs,
     v.                                                 MOTION TO ENLARGE
                                                        DISCOVERY CUTOFF
META PLATFORMS, INC.,
                                        Defendant.




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       Even though the Parties have been diligently litigating this case, there is still much work to

be done. This is a complex litigation involving cutting-edge issues, and incredibly technical facts

involving new and novel generative AI technologies. Meta itself requested an extension to meet the

substantial completion deadline, which Plaintiﬀs provided. What discovery has revealed thus far has

only reinforced the complexity of this case. In mid-July, Meta produced approximately 13,000

documents covering mostly hyper-technical topics and including, surprisingly, over one thousand

documents in French, which Plaintiﬀs must now translate. The production remains incomplete, and

documents are still rolling in. Meta’s privilege log (which Plaintiﬀs provided a reasonable extension

to produce) is, upon cursory review, woefully deﬁcient. The Parties are now on the eve of taking

depositions, including witnesses located abroad. Subpoenas have been issued to known third

parties, and Meta has so far refused to inform Plaintiﬀs which likely deponents it represents, which

will require Rule 45 subpoenas or resort to the Hague Convention or other treaties or agreements

which permit the taking of discovery abroad.

       Acknowledging the realities of completing discovery in this complex matter, Plaintiﬀs met

and conferred with Meta about mutually proposing a modest extension to the case schedule in order

to complete discovery and allow the parties to prepare their cases. Meta refused, even as it

continues to produce thousands of documents after the substantial completion deadline. Meta

apparently seeks to take strategic advantage of their delay and the complexity of the case by using

the schedule the parties set at the beginning of the case to foreclose and limit discovery and trial

preparation.

       Meta provided no basis for its refusal to a modest extension of the discovery deadlines

besides the Court’s order. Pursuant to Local Rule 6–3, Plaintiﬀs respectfully move this Court for a

modest 97-day extension of the fact discovery cutoﬀ in this Action, currently set for September 30,

2024, and for a corresponding extension of the subsequent dates herein. See Attachment A hereto.

This is the ﬁrst request for an extension of the pretrial schedule in this case.

                                           BACKGROUND

       On January 23, 2024, the Court entered a case management order that set a fact-discovery


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deadline of September 30, 2024. ECF No. 87. Since then, the parties propounded dozens of

requests for documents, dozens of interrogatories, negotiated custodians, produced documents,

reviewed those documents, and prepared for depositions. The parties resolved disputes on

numerous meet and confer videocalls. The parties spent countless hours and exchanged hundreds

of emails on discovery and other case management issues. On June 20, 2024, Meta’s counsel asked

Plaintiﬀs for a courtesy two-week extension on the substantial completion deadline of July 1,

2024—Plaintiﬀs graciously agreed. Declaration of Joseph R. Saveri at ¶ 7. On July 15, Meta

produced approximately 13,000 documents, covering mostly hyper-technical topics, collected from

ten document custodians unilaterally selected by Meta. Id. at ¶ 8. Regardless of the substantial

completion deadline, Meta is continuing to produce documents. Indeed, Meta has produced over

2,700 documents plus a hard drive since substantial completion. Id. What is more, over 1,000

documents Meta contain writings in French. And it has become apparent that Meta’s production is

deﬁcient, with many documents being produced with various technical issues, which will

necessitate re-imaging, production of native texts, and correction of illegible or corrupted ﬁles.

Needless to say, foreign language documents must be translated by a certiﬁed translator, and

partially illegible documents must be re-imaged before they can properly be used in the litigation.

Plaintiﬀs raised these issues and others to Meta on August 22, 2024. Saveri Decl., at ¶ 10. After

bringing the deﬁciencies to Meta’s attention, Meta has agreed in part to produce documents

without the deﬁciencies. That process is underway, and more documents are forthcoming.

       Plaintiﬀs have identiﬁed some and are negotiating additional document custodians that

should be added to the initial group of custodians, as contemplated and permitted by the ESI

Protocol entered by the Court. ECF No. 101. On August 23, 2024, Plaintiﬀs provided Meta with a

proposed list of additional custodians along with detailed reasons supporting their inclusion. Saveri

Decl., at ¶ 11. The parties are presently negotiating, with further document productions and

depositions to follow. Id.

       Meta issued its privilege log on August 30. Saveri Decl., ¶ 17. It has already become apparent

that Meta’s privilege log and its production writ large is deﬁcient. The privilege log contains over


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1100 entries. Id. The log does not distinguish documents withheld in total and those that are

redacted. As to the redacted documents, Meta failed to provide bates numbers, making it

unnecessarily diﬃcult to identify and review the documents withheld in part. For example, the

descriptions of the documents do not comply with ordinary Rule 26 standards for privilege logs.

Plaintiﬀs’ preliminary check reveals that certain documents have been redacted while other versions

have not. This inconsistency is engendering a host of problems, including delay and expense in

document review. There have been redactions on bases other than privilege for apparently no

reason other than the contents may have been damaging to Meta. Id. at ¶ 20. Plaintiﬀs are

undertaking a full accounting of the scope of the privilege log’s deﬁciencies.

          On August 22, Plaintiﬀs issued the ﬁrst deposition notices in this case. Id. at ¶ 13. Meta

issued notices of deposition on the individual Plaintiﬀs on August 23. Id. The parties are in the

process of meeting and conferring on dates. Meta takes the position that 20 depositions should

proceed in September.1 Meta has balked at dates oﬀered by Plaintiﬀs, and is now seeking alternative

dates. Further, certain deponents are in France. While refusing to permit Plaintiﬀs to contact them,

Meta has not yet conﬁrmed whether it is representing them or will produce them voluntarily

without resort to procedures necessary for depositions abroad. 2 Plaintiﬀs are continuing to meet

and confer in good faith to complete as many depositions as practicable in September.

          Plaintiﬀs anticipate (and have anticipated as indicated by their initial CMC statement ECF

No. 71 at *10]) that enlargement of the default 10-deposition cap will be necessary. Magistrate

Judge Hixson is likely to agree. See Perez v. Indian Harbor, Case No. 4:19-cv-07288-YGR (TSH),

ECF No. 61 (N.D. Cal. Jul. 20, 2020) ( Judge Hixson) (“Rule 30’s default provisions can be a little

1
 Meta indicated it is “willing to consider one-oﬀ deviations from the September 30 discovery cut-
oﬀ based on a showing of need (e.g., a particular witness is traveling in September and only available
in October)[.]” Saveri Decl., ¶ 15.
2
 On a meet and confer call, Meta acknowledged that Hague service takes time. Saveri Decl., ¶ 21.
In the same breath, Meta’s counsel apparently takes the position that because these procedures and
process will take such time, Plaintiffs have no right to the depositions: Meta asked Plaintiffs not to
communicate with former Meta employees, yet Meta’s counsel won’t tell Plaintiffs if they
represent the witnesses. Id. Plaintiffs' ability to initiate and complete foreign processes is frustrated
without this information.
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clunky. They seem to assume that a limited number of people are going to have relevant testimony

(10 per side), but that each person is going to know a lot (7 hours of record time). This doesn’t seem

to be one of those cases.”). The Parties are continuing to meet and confer about an expansion of the

deposition limits, but any such expansion would necessitate an enlargement of time to accomplish.

       Plaintiﬀs reasonably sought Meta’s agreement on a mutual-agreeable extension to the case

schedule. Meta refused. Saveri Decl., ¶ 6.

                                             ARGUMENT

       The litigation is proceeding apace. Plaintiﬀs have been working diligently, productively, and

cooperatively with Meta in order to complete discovery. However, this case presents novel

substantive and technical issues, which require more time than originally anticipated to fully

resolve. The complexity of these types of cases has been demonstrated in similar cases in this

District. Because of similar issues regarding the nature, scope, and complexity of these cases, the

parties to those cases have routinely extended their cases schedules with the approval of the courts.

See e.g., In re OpenAI ChatGPT Litig., Case No. 3:23-cv-03223, ECF No. 173 (N.D. Cal. Aug. 19,

2024) (extending schedule by 90 days); Doe 1, et al v. GitHub, Inc., Case No. 4:22-cv-06823-JST,

ECF No. 276 (extending schedule by 180 days).

       No good deed goes unpunished. Plaintiﬀs aﬀorded Meta every courtesy expected of litigants

in this District, providing extensions without objection for substantial completion and the issuance

of a privilege log when Meta said it needed more time. N.D. Cal. Guidelines for Professional

Conduct, ¶ 4. Depositions will need to be taken, including in France, and Hague service may be

required. Meta is still producing documents. It has become apparent now that despite the Parties’

best eﬀorts, a modest extension is needed to ﬁnish the work. Even as Meta is continuing to produce

its own documents—and in an unsatisfactory fashion—it refuses to agree to a modest extension of

the case schedule.

       Aside from the strategic advantage of denying Plaintiﬀs discovery necessary to prepare their

case and to defeat Meta’ aﬃrmative defenses, Meta may argue that Plaintiﬀs have been dilatory and

waited until the eleventh hour to raise this request. Not so. Plaintiﬀs have been diligently litigating


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this case, as Meta well knows. Plaintiﬀs have been diligently reviewing Meta’s production (which

again, were produced late), and it was this diligence that uncovered the deﬁciencies in Meta’s

production. Meta could have easily, for example, informed Plaintiﬀs in advance that it would be

producing over 1,000 documents in French.

       Plaintiﬀs are still in the process of reviewing discovery, but thus far they have already

uncovered serious deﬁciencies within Meta’s production. For example, Plaintiﬀs identiﬁed

documents produced which reﬂect, at best, shoddy redactions of material that plainly should not

have been. At worst, this demonstrates an eﬀort to shield damaging facts and to hinder and hamper

Plaintiﬀs’ discovery eﬀorts. Accordingly, Meta’s document productions require review with a ﬁne-

tooth comb, and if necessary, litigation. Meta produced an extensive privilege log, and there are

hundreds of redactions. Plaintiﬀs identiﬁed no legal basis for at least some of these redactions

whose only purpose apparently is to hide potentially damaging information. Saveri Decl., ¶ 20. The

modest ﬁrst-time request of 97 days reﬂects the complexity of the case and is commensurate with

the volume of privilege log entries (over 1100) and the reality that Meta will need time to correct its

plainly deﬁcient production.

       Meta apparently believes the parties should ramrod twenty depositions into the remaining

weeks of September, even as its own document production is continuing. The scheduling eﬀorts are

already revealing that some depositions will likely need to occur later. Saveri Decl., ¶ 15. Further,

Plaintiﬀs provided available dates in September for ﬁve witnesses, and they are working with their

clients to determine availability for the rest. But even now, after being oﬀered dates for the

depositions Meta noticed, Meta wants diﬀerent dates. Saveri Decl., ¶ 19. It is apparent to everyone

but Meta that an extension is needed. Meta apparently prefers gamesmanship. This motion could

have been avoided if Meta were amenable to a reasonable extension, as has been achieved by

similarly-situated parties other cases. See In re OpenAI ChatGPT Litig., supra; Doe 1, supra. Meta’s

refusal is unfortunate, strategic, and unjustiﬁed. For the foregoing reasons, Plaintiﬀs request an

enlargement of time as outlined in the Proposed Revised Scheduling Order. Plaintiﬀs request 97

days (90 days + 7 days in light of the holidays).


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Dated: September 6, 2024              By:         /s/ Joseph R. Saveri
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                                    ATTACHMENT A



                   Case Event                   Current Deadline     Proposed Deadline

  Fact Discovery
  Substantial completion of document
                                                   July 15, 2024           N/A
  productions

  Close of fact discovery                       September 30, 2024    January 6, 2024

  Deadline to File and Fact Discovery Motions
                                                 October 7, 2024      January 15, 2025
  including Motions to Compel
  Expert Reports

  Opening Expert Reports Due                     October 11, 2024     January 17, 2025

  Rebuttal Expert Reports Due                   November 8, 2024     February 14, 2025

  Reply Expert Reports Due                      November 22, 2024    February 28, 2025

  Close of Expert Discovery                     December 20, 2024     March 28, 2025

  L/D to File Motions re Expert Discovery       December 27, 2024      April 4, 2025

  Daubert Motions

  Opening MSJ/Daubert Briefs Due                  January 1, 2025      April 9, 2025

  Oppositions to MSJ/Daubert Briefs Due          February 7, 2025      May 16, 2025

  Reply MSJ/Daubert Briefs due                  February 21, 2025      May 30, 2025

  Hearing on MSJ                                  March 6, 2025        June 12, 2025




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